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April 3, 2020

BY ECF

The Honorable Esther Salas
United States District Judge
Martin Luther King Building & U.S. Courthouse
50 Walnut Street Room 4015
Newark, New Jersey 07101

          Re:     Kyle-Labell v. Selective Service System et al., Docket No. 2:15-cv-05193-ES-JAD
                  (D.N.J.)

Dear Judge Salas,

        The Government respectfully submits this letter to inform the Court that on March 25,
2020, the National Commission on Military, National, and Public Service (“Commission”)
submitted the Final Report (“Report”) commissioned by Congress. 1

        The Report considers a number of issues related to national, public, and military service.
It contains 49 top-level recommendations, and numerous sub-recommendations, many of which
are directed specifically towards Congress. Report at 124–139. Recommendation #49 is that
Congress amend the Military Selective Service Act to require that women and men register for
the draft. Report at 111–123.

        At present, the only pending motion in this case is Plaintiffs’ motion for class
certification. As set forth below, the Report supports Defendants’ arguments that class
certification should be denied. See Defs.’ Opp. to Class Cert., ECF No. 116.

       First, the congressionally-mandated Report—with its numerous recommendations to
policymakers—further demonstrates that the formulation of the nation’s draft registration system
should remain with the political branches, and that Plaintiff’s attempt to implement the Report’s
recommendation on women’s registration through class-wide injunctive relief is inconsistent
with the separation of powers. See id. at 13–16.

         Second, the Report reinforces why Plaintiff is not an adequate class representative. See
id. at 16–26. The Report notes, for example, that “[m]any individuals who engaged with the
Commission fervently expressed their perspective that women should not be required to register

1
    Available at https://inspire2serve.gov/sites/default/files/final-report/Final%20Report.pdf
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for a potential draft.” Report 119–120. Plaintiffs cannot fairly or adequately represent class
members who hold such views—which are directly contrary to the relief Plaintiff seeks in this
action. Further, the Report explains that some of the individuals with whom the Commission
conferred believed “that changing the MSSA to require all Americans to register would erode,
not enhance, women’s rights” because it would “impose on millions of women a registration
requirement with which they are not currently burdened, subject them to financial and legal
exposure they don’t currently have, and mandatorily subject them to the physical demands and
inherent dangers of military service.” Id. at 120. Defendants have explained why imposing new
legal burdens on putative class members creates a stark conflict of interest. Defs.’ Opp. to Class
Cert. 17–20. The fact that at least a portion of the putative class does not favor undertaking such
burdens confirms that Plaintiff cannot adequately represent their interests.

       For these additional reasons, Plaintiffs’ motion for class certification should be denied.

                                                     Respectfully submitted,

                                              By:    /s/ Matthew Skurnik
                                                     MATTHEW SKURNIK
                                                     COUNSEL FOR DEFENDANTS
